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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

RONNIE EDWARD REED,
Plaintiff,
vs. CASE NO.: 3:24-cv-463-MMH-JBT
THOMAS KEVIN WATERS, in his
official capacity as Sheriff of the City of
Jacksonville, Florida; JOEL
BELGARD, individually; NICHOLAS
HACKLEY, individually; and
MARK MAZZONE, individually,

Defendants.

MEDIATION DISPOSITION REPORT

In accordance with the Court's mediation order(s), a mediation conference was
held on JANUARY 3, 2025, and the results of that conference are indicated below:

(a) _—_ The following individuals, parties, corporate representatives, and/or claims
professionals attended and participated in the mediation conference, and each
possessed the requisite settlement authority:

a All individual parties and their respective trial counsel.

Designated corporate representatives.

— Required claims professionals.
(b) The following individuals, parties, corporate representatives, and/or claims

professional failed to appear and/or participate as ordered:

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(c)

a

The outcome of the mediation conference was:

The case has been completely settled. In accordance with Local
Rule 9.06(b), lead counsel will promptly notify that Court of
settlement in accordance with Local Rule 3.08.

The case has been partially resolved and lead counsel has been
instructed to file a joint stipulation regarding those claims which
have been resolved within ten (10) days. The following issues
remain for this Court to resolve:

The conference was continued with the consent of all parties and
counsel. Mediation Reports will be filed after additional
conferences.

The parties have reached an impasse.

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DONE this } 8 day of January, 2024, in Jacksonville Beach, Duval County,

Florida.

RESPECTFULLY SUBMITTED,

Auth /Y Chi

MICHAEL I. COULSON - Mediator
Certification No: 5891 R

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Certificate of Service

| DO HEREBY that a copy of the foregoing has been furnished to the below-
bs
named attorneys by electronic filing this 3S R day of January, 2024.

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